Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 1 of 13 PageID# 63
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 2 of 13 PageID# 64
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 3 of 13 PageID# 65
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 4 of 13 PageID# 66
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 5 of 13 PageID# 67
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 6 of 13 PageID# 68
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 7 of 13 PageID# 69
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 8 of 13 PageID# 70
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 9 of 13 PageID# 71
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 10 of 13 PageID# 72
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 11 of 13 PageID# 73
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 12 of 13 PageID# 74
Case 4:21-cv-00034-RBS-LRL Document 12 Filed 12/20/21 Page 13 of 13 PageID# 75
